                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF IOWA
                              WESTERN DIVISION

  KELLY FLOCKHART,                                        No. 17-CV-4019 MWB

                  Plaintiff,
  vs.                                                   ORDER LIFTING STAY
  SYNCHRONY BANK,
                   Defendant.
                                 ____________________

         This case was stayed by a Court order on August 1, 2017, pending a decision from
the Court of Appeals of the D.C. Circuit in ACA Int’l v. FCC, No. 15-1211 (D.C. Cir.).
The parties filed a Joint Status Report and Request to Reopen on March 27, 2018, (Doc.
22), notifying this Court that the D.C. Circuit has released its opinion in ACA Int’l and
the parties are discussing the possibility of arbitrating this matter. The parties state they
will update the Court in thirty (30) days on the status of their arbitration.
         IT IS ORDERED the stay placed on this case on August 1, 2017, is lifted. The
parties are directed to submit a proposed scheduling order and discovery plan to the Court
on or before April 30, 2018.
         IT IS SO ORDERED this 29th day of March, 2018.




                                           __________________________________
                                           C.J. Williams
                                           Chief United States Magistrate Judge
                                           Northern District of Iowa




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